



















NUMBER 13-04-265-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI - EDINBURG
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DULCE MARIA JUAREZ HUTSELL,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

MICHAEL BRYAN HUTSELL,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.
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On appeal from the 197th District Court of Cameron County, Texas.
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MEMORANDUM OPINION

Before Justices Hinojosa, Yañez, and Garza
Memorandum Opinion Per Curiam

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, DULCE MARIA JUAREZ HUTSELL, perfected an appeal from a
judgment entered by the 197th District Court of Cameron County, Texas, in cause
number 2003-10-5203-C.  No clerk’s record has been filed due to appellant’s failure
to pay or make arrangements to pay the clerk’s fee for preparing the clerk’s record.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;If the trial court clerk fails to file the clerk’s record because the appellant failed
to pay or make arrangements to pay the clerk’s fee for preparing the clerk’s record, the
appellate court may dismiss the appeal for want of prosecution unless the appellant
was entitled to proceed without payment of costs.  Tex. R. App. P. 37.3(b).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On July 22, 2004, notice was given to all parties that this appeal was subject
to dismissal pursuant to Tex. R. App. P. 37.3(b).  Appellant was given ten days to
explain why the cause should not be dismissed.  To date, appellant has failed to cure
the defect. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court, having examined and fully considered the documents on file,
appellant’s failure to pay or make arrangements to pay the clerk’s fee for preparing the
clerk’s record,  this Court’s notice, and appellant’s failure to cure the defect, is of the
opinion that the appeal should be dismissed for want of prosecution. The appeal is
hereby DISMISSED FOR WANT OF PROSECUTION.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Memorandum Opinion delivered and filed
this the 26th day of August, 2004.




